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                         EXHIBIT I
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                           March 18, 2011


                           Via Email and U.S. Mail

                           J. Andrew Langan, Esq.
                           Kirkland & Ellis LLP
                           300 North LaSalle Street
                           Chicago, IL 60654
                           andrew.langhan@kirkland.com

                           Re: BP Parties ' Responses to MOEX Offshore 2007 LLC's
                               Interrogatories  and   Requests   for Production of
                               Documents/Request for Meet and Confer

                           Dear Mr. Langan:

                           We write in connection with the BP Parties' Responses and Objections to Defendant
                           MOEX Offshore 2007 LLC's Interrogatories and Requests for Production of
                           Documents, dated February 22, 2011. As detailed below, many of the BP Parties'
                           responses are incomplete and/or deficient under the Federal Rules of Civil Procedure
                           and applicable case law. As such, MOEX Offshore 2007 LLC ("MOEX") requests a
                           "meet and confer" with the BP Parties no later than March 25, 2011 to discuss the
                           following issues regarding their responses.

                           1.       GENERAL OBJECTIONS

                           It is unclear what documents, if any, were withheld by the BP Parties based on its
               Boston      general objections. MOEX is concerned with the breadth of these objections and
              Hartford
                           needs to know what information has been withheld due to them. Moreover, certain
            Hong Kong
                           of the objections are on their face unsupportable. For instance:
               London
          Los Angeles
             New York      General Objection No. 7: The BP Parties object to the extent the requests seek
       Orange County       "information or documents concerning other incidents, accidents or other events at
        San Francisco      BP facilities or locations other than the Macondo Well or that are otherwise
         Santa Monica
                           unrelated to the Deepwater Horizon." MOEX is entitled to information and
        Silicon Valley
                Tokyo
                           documents that are reasonably calculated to lead to the discovery of admissible
         Walnut Creek      evidence. Because the BP Parties were operators at the Macondo Well, documents
          Washington       relating to other wells or rigs where the BP Parties are engaged in deepwater drilling
                           may provide insight into the events that that occurred here. See Section III.A below.
                           As such, this general objection is invalid and must be withdrawn.
Bingham McCutchenLLP
            Suite 4400
                           General Objection No. 8: The BP Parties object to the extent the requests seek
355 South Grand Avenue     disclosure of "trade secrets, proprietary information or other confidential business
       Los Angeles, CA
           90071-33o6

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          information without appropriate restrictions on disclosure and dissemination that are
          embodied in a protective order entered by the Court." However, in light of PTO No.
          13, please confirm no documents have been withheld on this basis.

          II.      INTERROGATORIES

                   A.       The BP Parties Improperly Invoke Fed.R .Civ.P. 33(d).

          In many instances , rather than provide the substantive information called for by
          MOEX' s Interrogatories, the BP Parties state that "the burden of deriving or
          ascertaining the answer to this interrogatory is substantially the same for MOEX as
          it is for the BP Parties ." Based on this statement, and allegedly in reliance upon
          Fed.R .Civ.P. 33(d) ("Rule 33 (d)"), the BP Parties provide the following responses:

                   1) They indicate they "have produced, or will produce" responsive documents
                   without identifying a single document in their answer or indicating when such
                   documents will be produced (Responses to Int. Nos. 3, 15, 19 and 20);

                   2) They merely refer MOEX to previous discovery responses by the BP
                   Parties to requests that called for different and/or much broader categories of
                   information (Responses to Int. Nos. 4, 14, 16}; and

                   3) They refer MOEX to ranges of Bates numbered documents that are so
                   large ( in some cases , over 61 , 000 documents) that MOEX simply cannot
                   ascertain which documents in those ranges are responsive and which are not
                   (Responses to Int . Nos. 6, 7, 8 and 11).

          Although Rule 33(d) allows a responding party to provide business records in
          response to an interrogatory, such a response is proper only if the answer can be
          determined by reviewing a "party's business records" and "the burden of deriving or
          ascertaining the answer will be substantially the same for either party."
          Fed.R.Civ.P. 33(d). Moreover, if the responding party chooses to invoke Rule
          33(d), it must specify "the records that must be reviewed, in sufficient detail to
          enable the interrogating party to locate and identify them as readily as the
          responding party could...." Id. (emphasis added). "Answering an interrogatory by
          generally referring to information or documents previously provided does not satisfy
          the requirement that the answer must be made fully, in writing." KeyBank Nat.
          Ass'n v. Perkins Rowe Associates, LLC, 2011 WL 765925, at *3 (M.D. La. 2011).

          None of the BP Parties' responses listed above meet the requirements of Rule 33(d),
          because each of those responses fail to provide sufficient detail to enable MOEX to
          ascertain the answers without having a substantially greater burden than the BP
          Parties would.




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          First, merely stating that the BP Parties "have produced or will produce" responsive
          documents, without identifying those documents , is insufficient under Rule 33(d).
          See KeyBankNat. Assn, 2011 WL 765925, at *3.

          Second, in those instances where the BP Parties "refer" MOEX to the BP Parties'
          other discovery responses, these responses are improper as well, as they do not
          adequately identify responsive information or documents:

               +   Interrogatory Response Nos. 4 and 14: The BP Parties refer MOEX to a
                   previous response by the BP Parties that encompasses nearly 50,000 pages
                   of production;

               •   Interrogatory Response No. 5: The BP Parties refers MOEX to logs that do
                   not contain the specific information called for; and

               •   Interrogatory Response No. 16: The BP Parties refers MOEX to a previous
                   response by the BP Parties relating to operations and drilling activities on
                   deepwater rigs, a far broader request than Interrogatory No. 16, which
                   narrowly calls for information regarding "kicks" experienced on the
                   Deepwater Horizon from February 1, 2010 through April 20, 2010.

          Third, merely referring MOEX to a huge range of documents does not provide
          MOEX with sufficient detail to enable MOEX to ascertain the answer as readily as
          the BP Parties . See KeyBank Nat. Assn, 2011 WL 765925, at *3.

          Accordingly, MOEX requests that the BP Parties promptly revise and supplement
          the foregoing responses and provide either substantive answers or references to
          specific documents (or, at most, narrow ranges of documents) from which the
          answers may be ascertained without undue burden.

                   B.       The BP Parties Fail to Provide Responsive Answers.

          In many instances , the BP Parties have simply chosen not to answer a significant
          portion of the Interrogatories as written . For example , Interrogatory No. I calls for
          the identity of those "BP employees . .. who concluded that the second, or any
          subsequent, negative pressure test at the Macondo Well on April 20, 2010 was
          `successful '..." The only information the BP Parties provide in response regarding
          BP employees -- "The BP well site leaders involved in the negative pressure tests
          were Don Vidrine and Robert Kaluza" -- clearly does not answer the question as to
          who reached the referenced conclusion. Rather, this appears to be a deliberate
          attempt to side-step the inquiry and provide only a partial and evasive answer, which
          is wholly improper under the Federal Rules . See Dollar v. Long Mfg., N. C., Inc.,
          561 F. 2d 613, 616 - 17 (5th Cir. 1977).




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          Other responses that suffer from the same deficiency are:

              •    Interrogatory Response No. 2: The BP Parties fail to identify the BP
                   employees who concluded that the reading of 1400 psi on the drill pipe
                   during the negative pressure test was a result of "bladder effect" and the
                   basis for such conclusion;

              •    Interrogatory Response No. 3: The BP Parties have improperly limited their
                   response to drilling operations in the Gulf of Mexico, though the
                   interrogatory specifically requests information for all of the BP Parties'
                   deepwater drilling operations, without geographical limitation;

              •    Interrogatory Response No. 9: The BP Parties fail to specifically state
                   whether there was monitoring of mud pits and the period of time during
                   which monitoring did not occur;

              •    Interrogatory Response No. 10: The BP Parties fail to describe steps taken to
                   control or shut in the Macondo Well on April 20, 2010, instead referring
                   MOEX to BP's Internal Investigation Report' without citation even to a
                   chapter or page; and

              •    Interrogatory! Res_p_onse No. 12: The BP Parties fail to identify the persons
                   who made the decision on April 20, 2010 to divert flow from the Macondo
                   Well through the mud gas separator, instead referring MOEX to BP's
                   Internal Investigation Report.

          MOEX requests that the BP Parties immediately provide responses to these
          unanswered Interrogatories.




          I
                  The BP Parties reference to its Internal Investigation Report (the "Report") in lieu
          of providing substantive responses to Interrogatories is improper for several reasons: first,
          the Report was finalized almost six months ago, making it highly doubtful that it contains all
          responsive information in BP's possession, custody or control at present; second, the Report
          does not specifically address the exact question set forth in the Interrogatories; and third, the
          Report was not prepared under oath, as an Interrogatory response must be. Substantive and
          complete answers to the relevant requests (Interrogatory Nos. 1, 2, 10, 12 and RFP No. 30)
          must be provided.




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                   C.       The BP Parties ' Boilerplate Objections are Improper.

          In response to each Interrogatory, the BP Parties assert the following boilerplate
          objections:

                   To the extent MOEX's interrogatory seeks additional information,
                   the BP Parties object on the grounds that it is overbroad,
                   unreasonable, unduly burdensome, and seeks information not
                   relevant to the claims or defenses of any party.2

          Courts have made clear that conclusory statements and boilerplate objections simply
          asserting that a request is, for example, "overbroad" are improper . See McLeod,
          Alexander, Powel & Apffel, RC. v. Quarles, 894 F. 2d 1482, 1485 (5th Cir. 1990)
          (citing Joseph v. Harris Corp., 677 F. 2d 985, 991-92 (3d Cir. 1982). Thus, the
          `party resisting discovery "must show specifically how...each interrogatory is not
          relevant or how each question is overly broad, burdensome or oppressive ."' Id. at
          992; see also Nagele v. Electronic Data Systems Corp., 193 F.R.D. 94, 109 (W.D.
          N.Y. 2000) (" It is settled law that to support an objection based upon
          burdensomeness the objecting party must particularize the basis for the objection as
          generalized assertions are inadequate .") (emphasis added).

          Here, the BP Parties' boilerplate objections to each Interrogatory are improper
          because they do not particularize the bases for the objections, nor do they provide
          sufficient information for MOEX to ascertain what, if any, information the BP
          Parties are withholding as a result. The BP Parties must either withdraw or clarify
          these objections immediately.

          III.     DOCUMENT REQUESTS

                   A.       The BP Parties' Unilateral Narrowing of MOEX's Requests for
                            Production is Improper.

              1. Several of MOEX's Requests for Production of Documents ("RFPs") seek
          documents regarding the BP Parties' background, knowledge, experience, protocols
          and procedures in various aspects of deepwater drilling. In response, the BP Parties
          unilaterally assert that they will provide only a subset of the documents called for by
          the RFP. For example, in RFP No. 2, MOEX calls for the production of documents
          "relating to required or recommended practices to prevent or minimize pollution



          2      The BP Parties have included the same boilerplate objections to 28 of MOEX's 30
          RFPs. This is also improper for the reasons set forth above in Section 11.C.




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          during the course of drilling or operating a well." In response, the BP Parties state
          that it "will conduct a reasonable search ... for documents relating to required or
          recommended practices to prevent or minimize pollution that were applicable to the
          drilling and operation of the Macondo Well." The RFP was clearly not limited to the
          Macondo Well, nor is there any basis on which the BP Parties' response should be
          so limited. The BP Parties' practices or procedures regarding drilling or operating a
          well, generally, are entirely relevant to the issue of the BP Parties' corporate
          knowledge and whether that knowledge was adequately shared with and
          implemented by the BP Parties' employees working on the Macondo Well, in
          particular. In addition to RFP No. 2, the BP Parties' responses to RFPs that have
          been improperly limited to the Macondo Well, activities in connection with the
          Macondo Well or to the Gulf of Mexico are as follows: Nos. 2, 4, 5, 12, 14, 16, 17,
          18, and 28.

              2. The BP Parties similarly attempt to limit RFP Nos. 1 I and 25, which call for
          the BP Parties' temporary abandonment plans in the Gulf of Mexico and documents
          related to drilling of deepwater wells over the past 10 years, respectively, to those
          temporary abandonment plans filed with the Bureau of Ocean Energy Management
          ("BOEM") from 2005 through 2010. Again, this limitation is baseless, as MOEX is
          entitled to inquire as to the BP Parties' corporate knowledge and experience with all
          deepwater drilling and temporary abandonment plans, not just with respect to those
          plans filed with BOEM since 2005. The requested documents, including those that
          were not filed with BOEM, are particularly relevant, as it appears that later versions
          of the temporary abandonment plans for the Macondo Well were never filed with the
          BOEM/MMS.

              3. The BP Parties also attempt to limit RFP Nos. 26 and 27 by asserting that
          they will only produce temporary abandonment applications and approvals already
          received from MMS/BOEM, instead of all documents that relate to certain requests
          and approval. This limitation is without justification, and MOEX is entitled to all
          responsive documents.

             4. The BP Parties similarly attempt to limit RFP No. 24 by only providing
          documents concerning the Ixtoc I exploratory well, the Silvertip well, the AC 901
          well, and the WR 543 well. However, this RFP specifically requests information
          concerning those wells and any other well that had issues with blowout preventers.
          There is no basis for this limitation.

             5. To the extent the BP Parties' response to RFP No. 13 is meant to exclude the
          identity of all persons involved in the decision not to run a cernent bond log at the
          Macondo Well, that response has been improperly limited.




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             6. To the extent the BP Parties' response to RFP No. 15 is meant to exclude any
          documents evidencing specific response activities, that response has been
          improperly limited.

                   B.       The BP Parties ' Refusal to Respond to Certain RFPs Is Without
                            Justification.

              1. RFP No. 1 seeks the production of all documents reviewed by the BP Parties
          in connection with their preparation of responses to each Interrogatory propounded
          by MOEX. The BP Parties refuse to provide a response . Although MOEX asserts
          that this is an appropriate request, MOEX is willing to meet and confer with the BP
          Parties in an effort to agree upon narrowing its scope.

              2. RFP No. 22 calls for documents "that are or relate to internal discussions
          (including emails)" about what the BP Parties "would be or would not be telling
          MOEX Offshore, MOEX USA or Anadarko about the drilling process, conditions,
          changes, progress, or problems at the Macondo Well, prior to May 1, 2010." In
          response, the BP Parties object on various vague grounds and refuse to respond.

          In addressing this very issue during a conference on March 11, 2011, and in the face
          of objections from the other parties, Magistrate Shushan encouraged MOEX and
          Anadarko to pursue the topic of what information was and was not supposed to be
          provided to MOEX (and Anadarko), and what information was and was not actually
          provided to them, through interrogatories and document requests. As such, this RFP
          is entirely proper and responsive documents must be produced.

          IV.      ADDITIONAL ISSUES

          In addition to the above, MOEX has the following issues to resolve with the BP
          Parties:

              1. With respect to each statement that the BP Parties "will produce documents,"
          when will such production be made and how will the BP Parties make clear which
          production is responsive to MOEX's Interrogatories and RFPs?

              2. With respect to the boilerplate objections set forth at the end of each
          response to an RFP (identical to the one included in each Interrogatory response, and
          improper for the same reasons as set forth below in Section 11 C), what categories of
          documents are the BP Parties withholding on the basis of these objections?

             3. What is the basis for the BP Parties' unilateral assertion that the "relevant
          time period" means January 1, 2009 through April 20, 2010? What categories of
          documents are the BP Parties withholding on the basis of this objection?




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                         In light of the twelve ( 12) pages of objections posed by the BP Parties to MOEX's
                         Definitions and Instructions , what categories of documents are the BP Parties
                         withholding on the basis of these objections?

                         In light of the foregoing, we propose that the parties meet and confer no later than
                         March 25, 2011 to discuss the BP Parties' responses and document production. This
                         letter shall serve as MOEX's attempt to meet and confer with the BP Parties
                         pursuant to Rule 37( a)(1).


                         Sincerely yours,
                                             S

                         1v . Hedaneth
                         +
                                                          -Itpelll-,
                         cc: Ky E. Kirby, Esq.
                             Warren Anthony Fitch, Esq.
                             Peter C. Neger, Esq.
                             Diane C. Hertz, Esq.




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